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   From:          President [PRESIDENT@depaul.edu]
   on behalf of   President <PRESIDENT@depaul.edu> [PRESIDENT@depaul.edu]
   Sent:          1/30/2020 6:31:39 PM
   To:            Calvente, Lisa [LCALVENT@depaul.edu]
   CC:            G hanem,Salma [SGHANEM@depaul.edu]; Murphy, Alexandra [AMURPHY1@depaul.edu]
   Subject:       Letter from President Esteban
   Attachments:   Calvente P&T Appeal January 30 2020.pdf


   Dear Dr. Calvente,

   Please find attached my response to your Promotion and Tenure appeal. A hard copy will also be sent via US
   mail.

   Sincerely,

   A. Gabriel Esteban
   PresidentI Office of the President I DePaul University
   1 E. Jackson Blvd. I Chicago, IL 60604
   Tel: (312) 362-8890 I Fax: (312) 362-7577
                                                                                                EXHIBIT
   president@depaul.edu I www.depaul.edu
                                                                                                   231




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                                                     DEPAUL
                                                   UNIVERSITY
                                                                                           Office of the President
          January 30, 2020                                                                 1 East Jackson Boulevard
                                                                                           Chicago, Illinois 60604-2287
                                                                                           312/362-8850
                                                                                           FAX: 312/362-7577




          Via E-mail(lcalvent@depaul.edu) and U.S. Mail

          Lisa B. Y. Calvente
          6748 N. Glenwood Avenue
          Chicago, IL 60626

          Dear Dr. Calvente:

          The Appeals Board appointed by the Faculty Committee on Appeals has recommended
          reconsideration of the negative decision on your application for promotion and tenure at the end
          of the 2019-20 academic year. For the reasons explained below, I do not accept the Appeals
          Board's recommendation that the appeal be granted.

          I have reviewed the dossier materials, the appeal materials, and the relevant Faculty Handbook
          provisions. After reviewing the University Board on Promotion and Tenure's("UBPT")original
          recommendation,the Interim Provost's letter, and the Appeals Board's report, I see no compelling
          reason to reconsider the Interim Provost's decision. Specifically, you participated in and had the
          full benefit of a faculty-run process with multiple checks and balances over preceding levels of
          review. This multi-tiered process worked as it was intended and ultimately the UBPT made its
          recommendation to the Interim Provost.            After reviewing the dossier and UBPT's
          recommendation, Interim Provost Ghancm I rejected this recommendation and explained her
          rationale. I see no material procedural irregularities warranting reversal of the denial of your
          application for promotion and tenure.

          A. Faculty Handbook Policies and Procedures.

          The Appeals Board's analysis does not fully detail the multiple procedural protections built into
          the Faculty Handbook. As such, I begin with a summary of the provisions that inform my review
          of this appeal.

          First, it is essential to note that the Faculty Handbook places the burden of proof (by a
          preponderance ofthe evidence) on the appealing faculty member.(See Handbook section 5.1.1.)

         Second, the Appeals Board may not perform its own evaluation of the faculty member's
         qualifications at the appeal level. Rather, it is charged only with reviewing the basis ofthe appeal.
        (See Handbook sections 5.1.1.4, 5.1.2.3.)


           At the time of your review, Dr. Ghanem's title was Acting Provost.




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          Third, the promotion and tenure review process is a multi-tiered evaluation of faculty, by faculty.
          The Faculty Handbook outlines the general criteria — scholarship, teaching, and service — for
          promotion and tenure review and also explains the nature of the evaluation at the local and
          university levels. A key feature of DePaul's promotion and tenure review process is its
          transparency, which requires that each level prepare a detailed report of its findings and
          conclusions and forward that report to the candidate and to the subsequent level. The candidate
          has the opportunity to respond to each report, and this response goes to the next reviewing level.
         (See Handbook section 3.5.)

          The review begins at the local academic unit. Local academic unit guidelines provide unit or
          college-specific articulations of university-wide criteria based on the professional discipline, field
          or interdisciplinary area and describe local procedures and processes used for promotion and
          tenure. The guidelines must be consistent with the university's criteria and procedures. (See
          Handbook sections 3.4.2, 3.4.3.)

          The Faculty Handbook states that each review level considers the method and care of application
          of the approved guidelines by lower levels and the disciplinary expertise of the local academic
          unit. This includes matters of stringency, consistency among candidates, and fairness, as well as
          the implications the decision may have at the college/school or university level.(See Handbook
          section 3.5.1.1.)

          In addition, "[e]ach level of evaluation is substantive and judges the candidate on the merits
          according to the university's criteria and the guidelines of that level of review." (See Handbook
          section 3.5.1.1.) In addition to considering the method and care of application of the approved
          standards by the lower level unit(s), the UBPT is charged with conducting a substantive review on
          the merits that applies university-wide standards and criteria for tenure and promotion. (See
          Handbook sections 3.5.6.1.) Therefore, the UBPT members may use their own competence and
          experience to evaluate a candidate's application, to assess the application ofstandards by the lower
          level, and to review independently the substantive merits of a candidate's teaching, scholarship,
          and service.(See Handbook section 3.5.6.1.)

          Finally, the recommendation of the UBPT is forwarded to the provost. The Faculty Handbook
          states that "[o]nly in rare instances and for compelling reasons will the provost overturn a
          promotion or tenure recommendation made by the UBPT." (See Handbook section 3.5.6.3.)

          B. Procedural Background and Analysis of Appeal Arguments.

          Your appeal is based on all three grounds in section 5.1.2.3 of the Faculty Handbook:

               (1) The decision violated academic freedom.

               (2) The evaluation of the candidate deviated from procedures in the Faculty Handbook or in
                   college or local academic unit guidelines, and the deviation was material to the final
                   decision.




                                                            2



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                (3) The decision was the result of discriminatory practices prohibited by university policies or
                    applicable federal, state or local laws.

         (September 11, 2019 Calvente Memorandum to Appeals Board, p. 2.)

          In accordance with section 5.1.1.3 of the Faculty Handbook, the Appeals Board conducted a
          preliminary review ofthe allegations. On ground (1), violation ofacademic freedom,the Appeals
          Board found that the allegations in your appeal, if substantiated, would not support a claim for
          violation of academic freedom. The Appeals Board therefore determined it would not proceed
          with investigation of this ground for appeal. (See Memorandum: Preliminary Review of Dr. Lisa
          B.Y. Calvente Appeal of Tenure and Promotion, September 27, 2019.) I affirm and accept this
          recommendation and decision for all of the reasons stated by the Appeals Board.

          The Appeals Board then proceeded with a full review of the remaining two grounds for appeal.
          On January 15, 2020, the Appeals Board submitted its report and recommendation (the "Faculty
          Appeals Board Report"). In the Faculty Appeals Board Report, the Appeals Board found your
          appeal failed to establish by a preponderance of the evidence that the decision was the result of
          discriminatory practices prohibited by university policies or applicable federal, state or local laws.
         (See Faculty Appeals Board Report, pp. 30-34.) The Appeals Board's review and analysis is
          thorough and complies with the requirements of the Faculty Handbook. I therefore accept the
          Appeals Board's conclusions on ground (3).

          The Appeals Board found that the evaluation of the candidate deviated from procedures in the
          Faculty Handbook or in college or local academic unit guidelines, and the deviation was material
          to the final decision. The Appeals Board's conclusion is based on the following alleged procedural
          failings:

               (1) Allegations Relating to the 2015 Formal Review (see Faculty Appeals Board Report, pp.
                   12-14 and section B.1 below).

               (2) Allegations Relating to the Evaluation of Teaching in the 2017 Formal Review (see
                   Faculty Appeals Board Report, pp. 14-18 and section B.1 below).

               (3) Appellant's Allegations Regarding Evaluation of Service (see Faculty Appeals Board
                   Report, pp. 18-30 and section B.2 below).

               (4) Appellant's Allegations Regarding the Provost(see Faculty Appeals Board Report, pp. 4-
                  6 and section B.3 below).

          The Appeals Board's recommendation is based on what it incorrectly characterizes as procedural
          violations in the evaluation of teaching and service (items (1), (2), and (3)), and in the Interim
          Provost's decision to not accept the recommendation of the UBPT(item (4)).2


          2 The  Appeals Board found that the evidence did not substantiate the remaining procedural violations alleged in your
           appeal. I accept the Appeals Board's findings and conclusions and will not address those rejected allegations.(See
           Faculty Appeals Board Report, pp. 6-12.)

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          After reviewing the record, I cannot conclude that your promotion and tenure evaluation deviated
          from the procedures in the Faculty Handbook or college guidelines or that such deviation was
          material. The Appeals Board's findings appear to me to reflect their own evaluation of the
          application for tenure on the merits, rather than an assessment of whether the procedural
          requirements of the Faculty Handbook were followed. I disagree with the Appeals Board's
          conclusions that your application was not evaluated in accordance with the policies and procedures
          ofthe Faculty Handbook. The following discussion, although not exhaustive, sets out the general
          rationale for my conclusions.

                   1. The Appeals Board's Substantive Disagreement with Teaching Evaluations During the
                      2015 and 201 7 Probationary Reviews.

          The Appeals Board concluded that "the 2015 formal review initiated a pattern of College
          misrepresentation of student comments in teaching evaluations,"(Faculty Appeals Board Report,
          p. 14), and that"the College placed undue weight upon the flawed 2017 formal review in its tenure
          evaluation."(Faculty Appeals Board Report, p. 17). Although the Appeals Board concludes that
          these perceived deficiencies in the formal probationary reviews were material to the negative
          tenure review, the tenure review documents themselves do not support the Appeals Board's
          conclusions. Accordingly, I find the Appeals Board's assessment unconvincing.

          As a preliminary matter, section 5.1.2.3 ofthe Faculty Handbook is concerned with promotion and
          tenure review and does not authorize the Appeals Board's investigation into the substance of your
          probationary reviews.3 At DePaul University, probationary reviews are not included in the dossier
          as a matter ofcourse.(See Faculty Handbook section 3.6.1.) Although you may have nonetheless
          included them in your own dossier appendix, the college, the Acting Dean, the UBPT, and the
          Interim Provost prepared written reports on your application. These items, along with the
          candidate's statement and responses, are the primary operative documents in a promotion and
          tenure appeal.

          In any event, I disagree with the Appeals Board's characterization and assertions about the
          probationary reviews and the promotion and tenure review. Most importantly, I disagree with its
          conclusion that the process materially deviated from the Faculty Handbook's requirements.

          First, the Appeals Board's conclusion that the college engaged in a pattern of misrepresentation
          of student comments in teaching evaluations is belied by the College of Communication
          Recommendation for Tenure and Promotion to Associate Professor (the "College Report"). The
          College Report fully captures the crux of the debate about your teaching.

          For example, the College Report is replete with positive quotes from peer reviewers and students,
          for example:

                • "Given the willingness of many students to explore these challenging ideas and to confront
                  horrific examples, I assessed the overall atmosphere ofthe class to be both open and safe."
                 (College Report, p. 2.)

           3A formal review that results in non-renewal may be appealed under section 5.1.2.1. Issues other than denial of
           promotion and tenure, dismissal, nonrenewal, and non-reappointment may be grieved under section 5.2.

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                • ". . . sometimes the conversations can be challenging and emotionally difficult. But Prof.
                  Calvente maintained a cordial and agreement environment throughout the whole class
                  period."(College Report, p. 2.)

                • "Dr. Calvente always listened to the opinion of every student. She also maintained an
                  enforcement of respect." (College Report, p. 2).

          Further, the College Report also specifically mentions the concerning recurring themes in prior
          review periods, references your response to prior assessments in your "Appendixes to Tenure and
          Promotion Review Statement," and notes your opinion that your "teaching had been overly
          scrutinized." (College Report, p. 4.)

          The College Report's description of the tenured faculty meeting demonstrates that the faculty
          grappled with and debated the issue of student concerns about feeling intimidated and/or
          uncomfortable in the classroom. (College Report, p. 12-14.) Some focused on improvement in
          recent evaluations, some argued that the positive comments outweighed the negative, some
          attributed the negative comments to discomfort with the subject matter, some focused on the fact
          of recurrence, and some argued that an invitational approach was more in line with Vincentian
          personalism. (College Report, p. 13.) Moreover,the College Report presented your position that
          the student comments could be attributed to the sensitive nature of the race-related conversations
          in the classroom and being a minority faculty teaching race content. (College Report, p. 13.) The
          College Report also reflected your belief, expressed to the Personnel Committee during your
          interview, that making students feel uncomfortable in class is protected academic speech and
          within your academic freedom rights. (College Report, p. 13.)

         The Acting Dean's letter to the UBPT similarly contains a frank discussion ofthe issue ofstudent
          discomfort, noting that the courses can be emotionally difficult for students, acknowledging that
          your approach to student concerns and discomfort works for some students and not others, and
          providing an example of an incident that resulted in complaints by both you and the students.
         (January 9,2019 Acting Dean Letter to UBPT, pp. 1-3.) The Acting Dean did not "misrepresent"
          the student comments. To the contrary, she provided a concise summary of the critical issue:

                    Again, I want to emphasize, for the majority of her students, Dr. Calvente
                    provides a positive, and for some an extraordinary experience. She has made
                    efforts to improve some aspects of her teaching. To be an "excellent" teacher at
                    an institution such as DePaul, however, requires a commitment and an effort to
                    try to reach all students—even those who may (possibly unfairly) view you or
                    your course content negatively. This is the conundrum of the case.

         (January 9, 2019 Acting Dean Letter to UBPT, p. 4.)

          Similarly, the UBPT Report reflects a close 4-3 split among its members regarding the impact of
          the negative student comments. Some members felt the negative comments were from "a very
          small minority" and noticed "significant improvement in the recent years." (UBPT Report, p. 2.)



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          Other members acknowledged that while the comments were from "a small minority" ofstudents,
          the impact was "severe" and justified a rating short of"excellent". (UBPT Report, p. 2.)

          Simply put,the dossier shows full transparency, context, and ample discussion around the issue of
          student comments in teaching evaluations. These types ofdiscussions and the application ofsound
          academic judgment, informed by experience, are foundational to the tenure review process. It is
          through these debates — at every level — that the university determines whether or not there is any
          reasonable doubt about the faculty member's qualifications and continued capacity to contribute.
          Accordingly, the Appeals Board has no basis for its conclusion that your 2015 formal review
          initiated a pattern of misrepresentation that precluded a fair and systematic evaluation. (Faculty
          Appeals Board Report, p. 14.)

          Second, the Appeals Board states that the college placed undue weight on an allegedly flawed
          statistic from your 2017 formal review. Once again, the Appeals Board's conclusions are not
          borne out by the underlying dossier reports. The Appeals Board makes much ofthe alleged failings
          of this "55 percent statistic" and its reference in the Januar),9,2019 Acting Dean Letter to UBPT,
          but it fails to show that the college placed any — much less "undue" — weight on this statistic in its
          recommendation against tenure. The specific statistic appears nowhere in the College Report. The
          reference in the Acting Dean's letter makes a single mention of the 2017 formal review, followed
          by a reference to your own calculation ofstudent complaints by students. (January 9,2019 Acting
          Dean Letter to UBPT, p. 3.)

          As already outlined above, the record reflects that your student evaluations were largely positive,
          but that the college, the Acting Dean, and the UBPT were all, to varying degrees, concerned with
          recurring presence of some student complaints about feeling intimidated and/or uncomfortable in
          the classroom and with whether you successfully responded to and addressed these concerns.
          Indeed, regardless of percentages, the College Report notes that "Lisa is the only faculty member
          in the College whose evaluations and student reports feature these recurring comments." (College
          Report, p. 13.)

          Third, even if the college, the Acting Dean, and/or the UBPT misunderstood the volume and
          severity of student concerns about feeling intimidated and/or uncomfortable in the classroom, I
          see no evidence that such a misunderstanding or misstatement, in and of itself, would constitute a
          material procedural violation.

          The record reflects a holistic review of your teaching, which took into account more than just the
          student concerns about feeling intimidated and/or uncomfortable in the classroom. The College
          Report also highlighted other areas requiring improvement, including concerns about clarity in
          assignments and assessments of learning outcomes,time management, use oftextbooks/readings,
          and incorporation of visual aids and multiple media. (College Report, pp. 3-4.) The College
          Report acknowledged improvement in some of these areas. (College Report, pp. 3-4.) However,
          the College Report's description of the faculty meeting reflected general concern among the
          tenured faculty that you resisted developmental recommendations. For example:




                                                           6



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               • "There was an overarching concern among many faculty members that Lisa categorically
                 dismisses constructive teaching recommendations from her peers and students'
                 comments."

                • "[S]ome long-standing issues raised by students and the tenured faculty's suggestions
                  throughout her time at DePaul (e.g., excessive volume of assigned readings, inadequate
                  efforts to accommodate students' different learning styles) remain ignored, thereby
                  negatively impacting student learning experiences."

         (College Report, pp. 14-15.)

          Against this backdrop, the Appeals Board has no authority to substitute its own interpretation of
          the meaning and weight that should be attributed to the various factors that go into teaching
          evaluations. Student feedback is part of the process (see Handbook section 3.6.2); how much
          weight to give it is well within the purview ofthe reviewing faculty. The parameters ofthe debate
          about the quality of your teaching are quite clear and the record shows that the reviewing faculty
          at every level tackled the issue directly, with valid points made on both sides of the argument.
          Indeed, this was a close question of a "Very Good" vs "Excellent" teaching rating. That the
          Appeals Board members, had they been voting faculty reviewers during the original promotion
          and tenure review, would have reached a different conclusion from the college or the Acting Dean
          or three of the seven UBPT members or the Interim Provost is beside the point. The only question
          to be answered is whether the Faculty Handbook's promotion and tenure review procedures were
          followed. On this record, I cannot accept the Appeals Board's findings and conclusions that there
          were material procedural deviations in the evaluation of your teaching.

                   2.    The Appeals Board's Disagreement with Service Evaluations During the Probationary
                        Period.

          The Appeals Board concluded that your "service was unfairly evaluated at multiple points" during
          your probationary period and that your college failed to provide "clear and consistent guidance
          regarding service in formal reviews." (Faculty Appeals Board Report, p. 30.) In support of this
          conclusion, the Appeals Board quotes extensively from probationary review reports and parses
          them for purported ambiguities and inconsistencies, regardless of context. I find the Appeals
          Board's assessment to be both unconvincing and the product of its own evaluation of the service
          record.

          First, the Appeals Board misstates the record by asserting that the decision to deny promotion and
          tenure was based on unsatisfactory service. (Faculty Appeals Board Report, p, 30.) To the
          contrary, the dossier materials clearly show that your service was evaluated as "Very Good".
         (College Report, cover page, p. 11; January 9, 2019 Acting Dean Letter to UBPT, pp. 5-6.)

          Second, the Appeals Board's inappropriate substitution ofits own judgment of your service record
          is highlighted in its own report. The Faculty Appeals Board Report shows that you received the
          formal probationary reviews required by the Faculty Handbook and that in these reviews you
          received consistent feedback regarding the need for greater service during the probationary period
          reviews.

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               • The 2015 formal review listed your service activities and rated you as making only fair to
                 good progress toward tenure in this area. (Faculty Appeals Board Report, pp. 19-20.)

               • The 2017 formal review reflected the Personnel Committee's assessment of your overall
                 service record during your probationary period as "modest," while acknowledging that
                 your record during that review period was "very good." (Faculty Appeals Board Report,
                 pp. 19-20.)

                • The 2017 formal review also reflected the disagreement of the tenured faculty with the
                  Personnel Committee: "IfLisa is retained, the tenured faculty would need to see significant
                  changes in her service as evidenced through a track record of substantial contributions to
                  her unit and meaningful committee work at the college level. Greater volunteering for
                  university service is'recommended."(Faculty Appeals Board Report, p. 22.)

          Notwithstanding consistent formal reviews reflecting overall dissatisfaction with your progress
          toward an excellent service record, the Appeals Board nonetheless embarked on a pedantic search
          for inconsistencies in word choice, for contradictory statements in documents other than
          probationary reviews, for evidence of the college informing you exactly what service to perform,
          and for evidence of contradictions when such specific guidance was, in fact, provided. (Faculty
          Appeals Board Report, pp. 22-27.)

          Setting aside for the moment the fact that the Appeals Board's charge is to review the promotion
          and tenure review process only, not the entirety of your probationary period, the Appeals Board
          has not persuaded me that you were unaware of the substance of the concerns surrounding the
          sufficiency of your service activities or that your service record was, in their judgment, unfairly
          rated as "Very Good" in the College Report. The Appeals Board points to no evidence that the
          college, Acting Dean, UBPT, or Interim Provost failed to review your service record as required
          under the Faculty Handbook. To the contrary, the formal reviews demonstrate that the college's
          consistent assessment during your probationary period was that more — quantitative and qualitative
          — service was expected for tenure. During the tenure review, reviewers debated about the
          sufficiency ofthe record reflected in your application. That the Appeals Board disagreed with this
          assessment on the merits or that they would have mentored you differently is of no significance in
          the appeal process. Their charge was limited to a review of whether the evaluation deviated from
          the procedures in the Faculty Handbook or college guidelines and whether any such deviation was
          material.

          Third, the promotion and tenure review record itself reflects an accurate recounting of your service
          history and the ongoing reservations ofthe tenured faculty that sufficiently explained the rating of
          "Very Good" rather than "Excellent".

                • The College Report comprehensively outlines your service record. The Personnel
                  Committee's narrative is complimentary and thorough, going so far as to note even your
                  mere attendance at a faculty meeting to discuss campus security concerns.(College Report,
                  p. 10.)


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               • The College Report also identifies the concerns of the tenured faculty that your service
                  record reflected standard faculty expectations and not enough long-term, substantive
                  activities, that your more recent service was beginning to be disproportionately weighted
                  outside the college, and that some of your claimed service was not properly documented.
                 (College Report, pp. 18-19.0

               • The Acting Dean's letter similarly acknowledged a record of service at the program,
                 college, and university levels, but noted that the majority was in ad hoc, short-term
                 capacities rather than more substantive, long-term committee work. (January 9, 2019
                 Acting Dean Letter to UBPT,p. 5.)

               • The UBPT itself was divided as to your service record, finding it sufficient yet
                 simultaneously encouraging you to further build your service record in all three levels.
                (UBPT Report, p. 3.)

          In short, the service record presented in your promotion and tenure application was fully evaluated
          and debated as required by the Faculty Handbook. Evolving recommendations over the course of
          your probationary period and differing opinions amongst the reviewing faculty does not mean that
          the process — during the probationary period or the tenure review — was unfair, inconsistent, or
          procedurally flawed. Rather, I would argue that it demonstrates that the process functioned as it
          should. That is, each review was responsive to the record before it and subsequent reviews built
          upon previous reviews to encourage further improvement. Indeed, your service rating did, in fact,
          improve from "Fair to Good" to "Very Good," which further undermines the Appeals Board's
          conclusion that alleged inconsistent or insufficient guidance as to service expectations amounted
          to materially unfair evaluations.

                   3.    The Appeals Board's Conclusion That the Interim Provost Assigned Greater Weight
                        to College Concerns than to University-Wide Criteria.

          In its report, the Appeals Board concludes that in rejecting the recommendation of the UBPT, the
          Interim Provost assigned greater weight to college concerns than to university-wide criteria and
          that this constituted a procedural violation. (Faculty Appeals Board Report, p. 6.) I am not
          persuaded by the Appeals Board's reasoning.

          The basis for the Appeals Board's conclusion is difficult to discern in its report. After first
          concluding that the Interim Provost had reiterated her agreement with the UBPT minority members
          and had acted in good faith and objectively, the Appeals Board then leaps to the unsupported
          conclusion that the Interim Provost assigned greater weight to college concerns than university-
          wide criteria. (Faculty Appeals Board Report, pp. 4-5.) Indeed, the Appeals Board appears to
          summarily discount the explanation in the Interim Provost's letter in which she notes that the
          overwhelming majority of the college faculty and the Acting Dean believed that the requirements
          for promotion and tenure had not been met, that the members of the UBPT were sharply divided
          themselves(4 to 3)on the question, and that the Faculty Handbook requires that "the university
          should have no reasonable doubt about the faculty member's demonstrated qualifications and
          continued capacity to contribute to DePaul's distinctive goals and academic mission." (June 10,
          2019 Interim Provost Letter to Dr. Calvente, p. 1.)

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          Four of the seven UBPT members reviewed the promotion and tenure application and were
          satisfied that the requirements at every level were met. That the Interim Provost was not in the
          end similarly satisfied is not, in and of itself, evidence of an over-emphasis on college concerns.
          Yet the Appeals Board simply assumes college-level concerns predominated.                  Without
          justification, it summarily dismisses the Interim Provost's written explanation that the record
          before her — the dossier, your response to the college report, and the UBPT hearing — conflicted
          with the Faculty Handbook's mandate that the university have "no reasonable doubt" before
          granting tenure. (June 10, 2019 Interim Provost Letter to Dr. Calvente, p. 1.) I am unwilling to
          accept the Appeals Board's assumptions on this point.

          C.     Conclusion

          It is not enough to make an argument that tenure could have been granted, especially when, as
          here, the record is generally commendable. Rather, the Faculty Handbook requires that you
          establish that your promotion and tenure evaluation deviated from procedures in the Faculty
          Handbook or in college or local academic unit guidelines, and the deviation was material to the
          final decision. As summarized above, I am not persuaded by the Appeals Board's findings of
          material procedural violations in the review of your promotion and tenure application.
          Accordingly, I do not accept the findings and recommendations of the Appeals Board.

          I am sorry that your application for promotion and tenure was not granted, but I do wish you every
          success in the years ahead.


          With every good wish,




          A. Gabriel Esteban, Ph.D.

          Cc: Salma Ghanem, Alexandra Murphy




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